Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 1 of 104 Page ID
                                  #:7144


   1   CENTER	FOR	HUMAN	RIGHTS	&	CONSTITUTIONAL	LAW	
   2   Carlos	Holguín	(Cal.	Bar	No.	90754)	
       Peter	A.	Schey	(Cal.	Bar	No.	58232)	
   3   256	South	Occidental	Boulevard	
   4   Los	Angeles,	CA		90057	
       Telephone:	(213)	388-8693	
   5
       Email:	crholguin@centerforhumanrights.org	
   6   	     	pschey@centerforhumanrights.org	
       	
   7
       Holly	S.	Cooper	
   8   Director,	Immigration	Law	Clinic	
   9   University	of	California	Davis	School	of	Law	
       One	Shields	Ave.	TB	30	
  10   Davis,	CA	95616	
  11   Telephone:	(530)	754-4833	
       Email:	hscooper@ucdavis.edu	
  12   	
  13   Of	counsel:	
       YOUTH	LAW	CENTER	
  14   Alice	Bussiere	(Cal.	Bar	No.	114680)	
  15   Virginia	Corrigan	(Cal.	Bar	No.	292035)	
       200	Pine	Street,	Suite	300 	
  16
       San	Francisco,	CA	94104	
  17   Telephone:	(415)	543-3379	x	3903	
  18   Attorneys for plaintiffs
  19
  20                          UNITED STATES DISTRICT COURT
  21           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
  22
       Jenny Lisette Flores, et al.,             Case No. CV	85-4544-DMG	(AGRx)
  23
                        Plaintiffs,              PLAINTIFFS’ EXHIBITS [ORR-PT.2]
  24
             v.                                  [Exhibits 12–16]
  25
  26   Jeh Johnson, Secretary, U.S. Department   Hearing: September	9,	2016
       of Homeland Security, et al.,             Time:    9:30 a.m.
  27                                             Courtroom 7, 312 N. Spring Street
                        Defendants.
  28
                                                                     PLAINTIFFS’ EXHIBITS [ORR]
                                                                    CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 2 of 104 Page ID
                                  #:7145


   1                                                 INDEX TO EXHIBITS
   2
       No.        Description                                                                                                         Page
   3
   4   1          Email from Defendants to Plaintiffs, November 23, 2015 .............. 1

   5   2          Letter from Plaintiffs to Defendants, December 28, 2015 .............. 5
   6   3          Email from Plaintiffs to Defendants, February 12, 2016 .............. 11
   7
       4          Statement of Principles Between DHS and HHS
   8              Unaccompanied Alien Children Program, April 6, 2004 ............. 15
   9   5          Office of Refugee Resettlement, Children Entering the
  10              United States Unaccompanied: Section 2, January 30,
                  2015 ............................................................................................... 18
  11
       6          In re: Pablo Alexander Aguilar-Ramirez, A206 775 662
  12
                  (BIA 2016) .................................................................................... 37
  13
       7          Matter of A--, 2005 Immig. Rptr. LEXIS 54924 (BIA
  14              2005).............................................................................................. 40
  15
       8          In Re: Rodriguez-Lopez, 2004 WL 1398660 (BIA 2004) ............. 42
  16
       9          Matter	of	Granados-Gutierrez,	A206	848	455	(I.J.	
  17              2014)	.................................................................................................................	46	
  18
       10	        Affidavit of Lorilei Alicia Williams, August 5, 2016 ................... 81
  19
       11         Declaration of Megan Stuart, July 29, 2016.................................. 93
  20
  21   12         Declaration of Hector Estiven Boteo, March 1, 2016 ................. 121

  22   13         U.S. Dept. of Homeland Security, Form I-770 Notice of
                  Rights and Request for Disposition, August 1, 2007 .................. 135
  23
  24   14         Declaration of Bryan Ortiz, January 12, 2016............................. 138

  25   15         Letter from Plaintiffs to Defendants, May 26, 2016 ................... 146
  26   16         Contract Between Department of Health and Human
  27              Services and Vera Institute of Jutice, Inc., July 31, 2009 ........... 160

  28
                                                                                                        PLAINTIFFS’ FOURTH SET OF EXHIBITS
                                                                                                                          CV 85-4544-DMG
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 3 of 104 Page ID
                                  #:7146


   1
       Dated: August 12, 2016            CENTER FOR HUMAN RIGHTS &
   2
                                         CONSTITUTIONAL LAW
   3                                     Carlos Holguín
                                         Peter A. Schey
   4
   5                                     Holly Cooper
                                         University of California Davis School of
   6
                                         Law
   7
                                         YOUTH LAW CENTER
   8                                     Alice Bussiere
   9                                     Virginia Corrigan
  10
                                         /s/Carlos Holguín _______________
  11   ///
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                                        PLAINTIFFS’ EXHIBITS
                                                                  CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 4 of 104 Page ID
                                  #:7147




                    Exhibit 12-ORR
                                                                        121
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 5 of 104 Page ID
                                  #:7148



            DECLARATION OF HECTOR ESTIVEN BOTEO FAJARDO

  I, Hector Estiven Boteo Fajardo, declare the following:

     1. I am from Guatemala City, Guatemala. I am 15 years old. I am currently in

  Yolo County Juvenile Detention Facility, in Woodland, California, where I have

  been detained since January 26, 2016.

     2. I left Guatemala for the first time in 2002, because my mom, who was in the

  United States, wanted to bring us—an older sister of mine, who was at the time

  approximately nine years old, an older brother, who was eight or seven years old,

  and me—to save us from the abuse we were subjected to by our paternal

  grandparents, who use to beat us and would leave us on the streets. We came

  accompanied by an aunt, from my dad’s side.

     3. Although I was really young, I have some memories of this event. I recall

  my aunt use to beat us, especially when she was drunk. I remember that after some

  time, her husband came to Mexico, and that suddenly she sold us to a coyote, so

  she could go back to Guatemala with him, without us. I recall that the coyote

  kidnapped us for around three years so he could extort our mom. I remember that

  the coyote would give us dog food to eat. I remember that he raped my sister and

  that he would beat us. In fact, the coyote was able to build a house with all the

  money that my mom gave him.

     4. In the end, my mom could not pay him anymore, and the coyote turned us in



                                                                                      122
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 6 of 104 Page ID
                                  #:7149



  to the Mexican immigration. We were detained, and we stayed about a month and

  a half arrested in the migration station in San Luis Potosi. They never took us to

  DF.

      5. The conditions in the migration station were bad. We shared dormitories

  with a lot of people: minors and adults, of both sexes, very cramped and everything

  was very dirty. The food was the same for all three meals: a soup or sandwich and

  water, or sometimes juice. No one informed us that there were any possibilities of

  staying in Mexico legally, with a humanitarian visa, asylum, or with other legal

  status.

      6. In 2006, we were deported to Guatemala. We went to live with my

  grandmother. In the beginning, everything was going well, but with time, she

  started to abuse us. Since I was older, I decided to abandon the house and live

  alone, on my own accord.

      7. I found a job as a bread maker, but right away the mara found out I was

  working and they started to extort me. I paid them two times, and soon I refused to

  pay them more, because I needed money for my rent, for which they tried to kill

  me.

      8. One time, they shot at me when I was working in the bakery. They arrived in

  a black Nissan and shot at me. I threw myself on the floor, and that way I was able

  to save my life. Another time, I was on a motorcycle, when they surrounded me


  	                                         2	
                                                                                     123
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 7 of 104 Page ID
                                  #:7150



  and started to shoot. Another time, I was playing in a field, when they surrounded

  me and started shooting. When they started shooting, I threw myself in a ditch, and

  was able to survive.

      9. In August 2015, I decided to go to the United States. I could no longer stand

  the violence in Guatemala; I really wanted to reunite with my mom. In Mexico, the

  federal police took me many times when I was going through the checkpoints.

      10. Around August 12 or 13, border patrol arrested me in the United States,

  when I was crossing the border through San Ysidro, California. They took me to

  jail there, in San Ysidro. I was detained in the station by the border patrol for two

  or three days. There, the detainees endured cold and also dealt with being cramped

  in the cells. There was not enough room for me to sleep and they kept the lights on

  at all times, so we couldn’t tell whether it was night or day. No one could go

  shower, or brush our teeth.

      11. The day after I was arrested, after 12 hours of being detained, they grabbed

  me to get my information. They asked me why I had left Guatemala, and I told the

  officer about the gang extortion and their intentions to kill me. I also told him that

  my mother was living in the United States, and that I had two brothers who were

  born in the United States. I gave the officer my mom’s name and phone number.

  They didn’t tell me anything other than that they would send me to Arizona. I

  arrived in Phoenix, a program called Southwest Key, where I stayed for two or


  	                                          3	
                                                                                     124
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 8 of 104 Page ID
                                  #:7151



  three months. In the beginning, they told me I would be detained for 15 days, or

  maybe a month, before I could leave and live with my mom.

      12. But, that is not what happened. I had been advised by an adult in Mexico

  that if I was arrested in the United States, I should tell the immigration that I had

  killed someone in Mexico. Even though that sounded weird, I was in the United

  States for the first time, so I told them that in Southwest Key, even though it was a

  total lie. I had never killed anybody. After I told them this, I was detained in

  Southwest Key another half of a month, thinking that the lie would help me, but

  that is not what happened.

      13. One day in November, if I remember correctly, they came to tell me that

  they were going to send me to Shenandoah, Virginia, for a psychological

  evaluation and an evaluation of my mom’s house. Two days after I arrived in

  Virginia, I told the officers that it was not true what I told them about killing

  someone, that I had only said that because of the older man’s advice in Mexico,

  and because I was desperate to be with my mother. In November or December,

  they informed me that I had passed the psychological evaluation, but that they

  were going to keep me detained for maybe another month, until they could finish

  evaluating my mom’s house. Currently, it has been one month or one and a half

  months since they informed me that the evaluation of my mom’s house had also




  	                                          4	
                                                                                      125
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 9 of 104 Page ID
                                  #:7152



  been positive, but I remain detained, and I have no idea when I will leave

  detention.

      14. They have also not given me any explanation why they transferred me to

  another detention center for delinquents like Yolo, instead of a place like

  Southwest Key. I never had any problems with the other detainees or with those in

  charge of Southwest key.

      15. In Yolo, we live in a real prison. The food, the program, the life, the

  routine: everything is a penitentiary. They treat us badly, like delinquents. The

  entire time, we live locked up. They don’t grab us to go to the park, the library, or

  anywhere normal. They lock us up in the cells every night, to sleep on benches

  made out of cement with mattresses. They take us out one hour each day to the

  courtyard. The food is always the same: something bad with oatmeal for breakfast;

  for lunch, a sandwich, milk and an orange or apple. Dinner varies a bit—out of all

  three meals it’s the one that is so-so.

      16. Since I arrived in Yolo, I have never consulted with a lawyer. (Now, a

  lawyer named Helen is helping me.) I never saw a list of lawyers who help

  detained minors. No one ever gave me a written explanation of the reason they

  held me in a high-security prison in Virginia or in Yolo. Up until now, they have

  not brought me in front of an immigration judge.

      17. My case-worker explained to me that I only have two options: If I can put


  	                                          5	
                                                                                      126
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 10 of 104 Page ID
                                  #:7153



  up with more time in detention, the best possibility is that they will give me a

  positive response, which is saying that, I can go live with my mom; the second

  option, I can demand an answer sooner, and it will give me less chances to avoid

  deportation.

      18. Now, I feel desperate. My only wish is to leave detention, live with my

  mom, and study. I have no future in Guatemala, apart from the mara killing me.

         I declare under penalty of perjury that the above is true and correct.

             Made on February 29, 2016, in Woodland, California.

  	
  	      	        	     	     	      	             	        	   	      	       	       	        	
  	      	        	     	     	      	             	        	   /s/___________________________________	
  	      	        	     	     				   															        	   Hector	Estiven	Boteo	Fajardo	
  	
  	
  ///	
  	
  	




  	                                                    6	
                                                                                                   127
      Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 11 of 104 Page ID
                                        #:7154


          INTER-AMERICAN COMMISSION ON HUMAN RIGHTS
          OF THE ORGANIZATION OF AMERICAN STATES
                                                                            TRANSLATOR DECLARATION
         Jesus Castro, et al.,


         v. United States of America and
         United Mexican States




                    /,u¡    tø,       )oru      Eo.-
                                                                 , hereby declare that
          am fluent in English and         nt


         I hereby certify
                        that I have translated the attached document and to the best
                                                                                     of my knowledge,
         the attached document is a true, accurate and complete translation
                                                                            of
He   üûf ejiven      ßo+co ñe        rdO d¿UA ra'h (v)                (description of document)

         oate:   04 IOI / e o b
         Signature of translator



        Printed name of translator
            n0         i   /-a       5ou




                                                                                                  128
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 12 of 104 Page ID
                                  #:7155




                                                                         129
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 13 of 104 Page ID
                                  #:7156




                                                                         130
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 14 of 104 Page ID
                                  #:7157




                                                                         131
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 15 of 104 Page ID
                                  #:7158




                                                                         132
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 16 of 104 Page ID
                                  #:7159




                                                                         133
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 17 of 104 Page ID
                                  #:7160




                                                                         134
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 18 of 104 Page ID
                                  #:7161




                    Exhibit 13-ORR
                                                                         135
     Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 19 of 104 Page ID
                                       #:7162
U.S. Department of Homeland Security                               Notice of Rights and Request for Disposition
Alien’s Name:                                                                      A Number (if any):
                                                                                   A-
                                                       Your Rights.
You have been arrested because Immigration Officers believe that you are illegally in the United States. When you are
arrested in the United States you have certain rights. No one can take these rights away from you. This paper explains
your rights.

                                       You have the right to use the telephone.
You may call your mother or father or any other adult relative. You may call your adult friend. If you do not know
how to use a telephone, the immigration agent will help you.

                                      You have the right to be represented by a lawyer.
Attached to this paper is a list of lawyers who can talk to you, and help you, for free. A lawyer can fully explain all
your rights to you, and can represent you at a hearing.

                                    You have the right to a hearing before a judge.
The judge will decide whether you must leave or whether you may stay in the United States. If for any reason you do
Not want to go back to your country, or if you have any fears of returning, you should ask for a hearing before a judge.
If you do not want to have a hearing before a judge, you may choose to go back to your country without a hearing.

Reading this Notice:
   I have read this notice.
   This notice has been read to me.

Right to Use Telephone:
   I have contacted my parent(s) or a legal guardian by telephone.        Completion of the following is optional:
                                                                          The person contacted is: (Relationship)
   I have contacted an adult friend or relative by telephone.
   I do not want to talk to anyone by telephone.
                                                                          The person contacted is: (Name)

Right to be Represented by a Lawyer:
    I have spoken with a lawyer.
    I do not want to speak with a lawyer.

Right to a Hearing:
    I understand my right to a hearing before a judge.

     I request a hearing before a judge.




Signature:                                                              Date:

     I do not want a hearing before a judge.
     I am in the United States illegally and ask that I be allowed to return to my country, which is named below.




                                                                        Country:

Signature:                                                              Date:
Form I-770 (08/01/07) (Prior editions may not be used)
                                                                                                                    136
       Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 20 of 104 Page ID
                                         #:7163
                                       INSTRUCTIONS TO OFFICERS
This advisal is required to be given to all persons who         The DHS retains the right to decide when to allow
are taken into custody and who appear, are known, or            telephone calls. The only prohibition is that the minor
claim to be under the age of eighteen and who are not           cannot be asked to voluntarily depart until after
accompanied by one of their natural or lawful parents.          telephone access is provided. If the minor is not offered
No such person can be offered or permitted to depart            voluntary departure but is put into deportation
voluntarily from the United States except after having          proceedings by issuance of a Notice to Appear,
been given this notice.                                         this procedure is not necessary. It is our duty to make
                                                                reasonable efforts to contact the person of the minor's
The required procedure distinguishes between two                choice, but after unsuccessful efforts to reach that
classes of minors.                                              person, we can facilitate contact with another such
                                                                person. Whenever the minor elects to pursue a process,
1) The first class are those minors apprehended in the          such as a call to a foreign country, which is operationally
immediate vicinity of the border and who permanently            unacceptable, we can always proceed to issue a Notice
reside in Canada or Mexico. These persons shall be              to Appear.
informed that they have a right to make a telephone
call to any of the persons mentioned in the notice.             The minor must tell the type of person that he/she talked
The purpose of this call is so that they can seek advice        to but need not give us that person's name or identifying
as to whether they should voluntarily depart or                 information. If a minor, of his/her own volition, asks to
whether they should request a deportation hearing.              contact a consular officer, this will satisfy the
We are required to make a record of any refusal to              requirements of the notice.
accept our offer of a telephone call.
                                                                The officer need not read the notice to the minor unless
2) As to all other minors, they must not only be given          the minor is under 14 years of age, or unable to
access to a telephone, they must establish                      understand the notice. The officer must ask the minor
communication, telephonic or otherwise, with one of             whether he/she wanted to make a call, whether a
the persons listed in the notice before they can be             communication was made and, if made, to whom. The
offered voluntary departure.                                    officer must also verify whether the minor wanted
                                                                voluntary departure or a hearing, and must sign and date
                                                                the form to show this was done.


        Officers are not to offer any advise to any minor as to what he/she should or should not do.

                                      To be completed by the Officer:

I verify that:                                                                 A-

1.a.       The subject named was given this notice to read.
  b.       I read this notice to the name subject in the following language:

2.         I asked this subject whether he/she wanted to make a telephone call, and offered assistance in the use of
           the telephone.

3.a.      The subject told me that he/she did not want to make a telephone call, or
  b.      The subject told me that he/she established communication and the form was marked to indicate it;
  c.      The subject was unable to establish telephone communication with the desired individual. The following
          number of attempts were made:

4.a.       The subject requested a hearing.
  b.       The subject admitted deportability and requested to return to his/her country voluntarily, without a
            hearing.
5.a.       A Notice to Appear was issued because, the subject was unable to establish contact with any of the
           individuals specified after making the number of attempts indicated above (Item 3 c), and after assistance
            to establish contact was given or offered.


                   Signature of Officer                                                         Date
                                                      Page 2 of 2
                                                                                                             137
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 21 of 104 Page ID
                                  #:7164




                    Exhibit 14-ORR
                                                                         138
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 22 of 104 Page ID
                                  #:7165




                                                                         139
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 23 of 104 Page ID
                                  #:7166




                                                                         140
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 24 of 104 Page ID
                                  #:7167




                                                                         141
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 25 of 104 Page ID
                                  #:7168




                                                                         142
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 26 of 104 Page ID
                                  #:7169




                                                                         143
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 27 of 104 Page ID
                                  #:7170




                                                                         144
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 28 of 104 Page ID
                                  #:7171




                                                                         145
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 29 of 104 Page ID
                                  #:7172




                    Exhibit 15-ORR
                                                                         146
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 30 of 104 Page ID
                                  #:7173



            CENTER FOR HUMAN RIGHTS AND CONSTITUTIONAL LAW
                                     256 S. OCCIDENTAL BOULEVARD
                                          LOS ANGELES, CA 90057
                              Telephone: (213) 388-8693 Facsimile: (213) 386-9484
                                         www.centerforhumanrights.org

                                               May 26, 2016

  William C. Silvis
  Assistant Director
  Sarah B. Fabian
  Trial Attorney
  Office of Immigration Litigation – District Court Section
  P.O. Box 868, Ben Franklin Station
  Washington, DC 20044

  Michael Johnson (or successor-in-office)
  Assistant United States Attorney
  300 N. Los Angeles St., Rm. 7516
  Los Angeles, CA 90012

  Allen Hausman (or successor-in-office)
  Office of Immigration Litigation
  Civil Division
  U.S. Department of Justice
  P.O. Box 878, Ben Franklin Station
  Washington, DC 20044

  Via first class mail (and email to Mr. Silvis and Ms. Fabian)

         Re: Hector Estiven Boteo Fajardo, A 208-311-655

  Dear Madam/Sirs:

  Pursuant to ¶¶ 24 and 37 of the settlement1 approved in Flores, et al., v. Lynch, et al., No. CV 85-
  4544 DMG (C.D. Cal.), on January 25, 1997 (Settlement), you are hereby given notice of claims
  that defendants are breaching the Settlement in the following particulars:

  1
   Paragraph 37 provides in pertinent part as follows: “This paragraph provides for the
  enforcement, in this District Court, of the provisions of this Agreement except for claims brought
  under Paragraph 24. The parties shall meet telephonically or in person to discuss a complete or
  partial repudiation of this Agreement or any alleged non-compliance with the terms of the
  Agreement, prior to bringing any individual or class action to enforce this Agreement.”

  Paragraph 24E provides: “Exhausting the procedures established in Paragraph 37 of this
  Agreement shall not be a precondition to the bringing of an action under this paragraph in any
  United District Court. Prior to initiating any such action, however, the minor and/or the minors’
  attorney shall confer telephonically or in person with the United States Attorney’s office in the



                                                                                                 147
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 31 of 104 Page ID
                                  #:7174
                                                       William Silvis, Sarah Fabian
                                                                      May 26, 2016
                                                                        Page 2 of 4

  1) Paragraph 11 of the Settlement provides in part: “The INS treats, and shall continue to treat,
  all minors in its custody with dignity, respect and special concern for their particular
  vulnerability as minors.”

  Settlement Exhibit 1 ¶ C provides: “Minors shall not be subjected to corporal punishment,
  humiliation, mental abuse, or punitive interference with the daily functions of living ...”

  In violation of the foregoing, on or about May 20, 2016, at approximately 7:00 a.m., defendants
  tightly shackled fifteen-year-old class member Boteo, causing him physical pain, humiliation,
  and severe emotional distress, and continued him in shackles during transport him to San
  Francisco, California, where he was to appear for an interview on his application for asylum.2

  The shackles bound the insides of Boteo’s wrists to each other and then tightly attached the
  wrists to a binding around his waist and then connected to bindings around his ankles.

  Notwithstanding that the asylum interview had been transferred to a secure federal building – the
  sixth floor of 630 Sansome Street in San Francisco, California—defendants refused to unshackle
  class member Boteo for his asylum interview, thereby prejudicing his right to a fair, child-
  appropriate adjudication of his asylum claim. This setting is the same space where detained
  adults are interviewed by asylum officers without restraints. The asylum officer requested that
  defendants unshackle class member Boteo, but that request was denied.

  Boteo, his attorney and the asylum officer tried to resolve the shackling issue for over two hours
  before deciding to reschedule the interview for another day. No arrangements were made for
  Boteo to eat lunch during the course of the day. When the officers placed his sack lunch on the
  asylum officer’s desk for him, Boteo was unable to reach his sandwich. Even placing the
  sandwich in his hands, he could not raise to his mouth to eat it. He remained shackled during his
  bathroom visit. Towards the end of his visit to San Francisco, Boteo’s veins bulged from his skin
  due to the tightness of the shackles.

  Defendants thereafter continued class member Boteo in shackles while transporting him in a
  secure vehicle—a lone child accompanied by two guards—back to Yolo County Juvenile Hall.

  At no time did class member Boteo exhibit imminent escape behavior, make violent threats, or
  demonstrate violent behavior. At no time did Yolo County Juvenile Hall or ORR make an
  individualized determination that class member Boteo posed a high risk of violence or escape if
  unrestrained.



  judicial district where the action is to be filed, in an effort to informally resolve the minor’s
  complaints without the need of federal court intervention.”
  2
   Defendants’ failure to permit class member Boteo to appear before an asylum officer in an
  open, non-adversarial setting appropriate to his special vulnerability as a child also violates, inter
  alia, § 235d(7) the	William Wilberforce Trafficking Victims Protection Reauthorization Act of
  2008, 110 Pub. L. 457, 122 Stat. 5044, codified at 8 U.S.C. § 1158(b)(3)(C).



                                                                                                      148
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 32 of 104 Page ID
                                  #:7175
                                                       William Silvis, Sarah Fabian
                                                                      May 26, 2016
                                                                        Page 3 of 4

  Defendants have refused to renounce shackling class member Boteo without individualized
  cause during future administrative proceedings, or during transport to and from such
  proceedings, including his rescheduled asylum interview which has been requested for June 3,
  2016.

  2) Paragraph 18 provides: “Upon taking a minor into custody, the INS, or the licensed program
  in which the minor is placed, shall make and record the prompt and continuous efforts on its part
  toward family reunification and the release of the minor pursuant to Paragraph 14 above. Such
  efforts at family reunification shall continue so long as the minor is in INS custody.”

  Paragraph 14 provides: “Where the INS determines that the detention of the minor is not
  required either to secure his or her timely appearance before the INS or the immigration court, or
  to ensure the minor's safety or that of others, the INS shall release a minor from its custody
  without unnecessary delay, in the following order of preference, to: ... a parent; ...”

  Defendants have failed to make good faith efforts to reunify class member Boteo with his
  mother, but have instead refused to release him to her custody. Defendants’ continuing to detain
  class member Boteo is required neither to secure his timely appearance nor to ensure his safety
  or that of others.

  Pursuant to ¶ 28B of the Settlement, we request that defendants investigate the foregoing and
  inform us of the reasons why class member Boteo has not been released.

  3) Paragraph 24A provides: “A minor in deportation proceedings shall be afforded a bond
  redetermination hearing before an immigration judge in every case, unless the minor indicates on
  the Notice of Custody Determination form that he or she refuses such a hearing.”

  Defendants have not afforded class member Boteo a bond redetermination.

  4) Paragraph 23 provides in part: “The INS will not place a minor in a secure facility pursuant to
  Paragraph 21 if there are less restrictive alternatives that are available and appropriate in the
  circumstances, such as transfer to (a) a medium security facility which would provide intensive
  staff supervision and counseling services or (b) another licensed program.”

  Paragraph 11 provides in part: “The INS shall place each detained minor in the least restrictive
  setting appropriate to the minor's age and special needs, provided that such setting is consistent
  with its interests to ensure the minor's timely appearance before the INS and the immigration
  courts and to protect the minor's well-being and that of others.”

  Paragraph 7 provides: “The INS shall assess minors to determine if they have special needs and,
  if so, shall place such minors, whenever possible, in licensed programs in which the INS places
  children without special needs, but which provide services and treatment for such special needs.”

  In violation of the foregoing, defendants have continued to confine class member Boteo in a
  secure detention facility despite the availability of less restrictive alternatives, including release
  to his mother, transfer to a licensed placement, and transfer to a medium-secure facility.




                                                                                                     149
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 33 of 104 Page ID
                                  #:7176
                                                       William Silvis, Sarah Fabian
                                                                      May 26, 2016
                                                                        Page 4 of 4

  Defendants have also failed to place class member Boteo in a licensed program equipped to
  provide him appropriate services and treatment, but instead continue to detain him in a secure
  juvenile detention facility that is not licensed to care for dependent children.

  Given the short time remaining before his asylum interview should be rescheduled we request
  defendants confer telephonically on Tuesday, May 31, 2016, at 9:00 a.m. pacific, in an effort to
  resolve the foregoing and avoid class member Boteo’s having to resort to formal legal action
  aimed at securing his rights under the Settlement.

  We also request that defendants provide the undersigned counsel with complete copies of class
  member Boteo’s HHS and DHS files, including (1) the psychological report on class member
  Boteo Dr. Rife prepared and forwarded to ORR on or about November 15, 2015, and (2) the
  notification, if any, Yolo County Juvenile Hall provided ORR advising of the intended shackling
  of class member Boteo and of the reasons therefor, and ORR’s response to such notification, if
  any.

  We ask that the specified records be forwarded to us by the close of business tomorrow, Friday
  May 27, 2016. Counsel formally requested these files pursuant to the Freedom of Information
  Act over two months ago, and that defendants’ unlawful failure to disclose the requested records
  is seriously compromising class member Boteo’s ability to secure his rights. A copy of counsel’s
  G-28 authorizing the release of files and the Freedom of Information Act requests previously
  submitted are attached.

                                               Sincerely,



                                               Carlos Holguín



                                               Helen Lawrence
                                               Attorneys for class member
                                               Hector Estiven Boteo Fajardo


  ccs:   Peter A. Schey, Center for Human Rights & Constitutional Law
         Alice Bussiere, Youth Law Center




                                                                                               150
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 34 of 104 Page ID
                                  #:7177




                                                                         151
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 35 of 104 Page ID
                                  #:7178




                                                                         152
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 36 of 104 Page ID
                                  #:7179




                                                                         153
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 37 of 104 Page ID
                                  #:7180




                                                                         154
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 38 of 104 Page ID
                                  #:7181




                                                                         155
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 39 of 104 Page ID
                                  #:7182




                                                                         156
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 40 of 104 Page ID
                                  #:7183




                                                                         157
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 41 of 104 Page ID
                                  #:7184




                                                                         158
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 42 of 104 Page ID
                                  #:7185




                                                                         159
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 43 of 104 Page ID
                                  #:7186




                    Exhibit 16-ORR
                                                                         160
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 44 of 104 Page ID
                                  #:7187




                                                                         161
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 45 of 104 Page ID
                                  #:7188




                                                                         162
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 46 of 104 Page ID
                                  #:7189




                                                                         163
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 47 of 104 Page ID
                                  #:7190




                                                                         164
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 48 of 104 Page ID
                                  #:7191




                                                                         165
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 49 of 104 Page ID
                                  #:7192




                                                                         166
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 50 of 104 Page ID
                                  #:7193




                                                                         167
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 51 of 104 Page ID
                                  #:7194




                                                                         168
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 52 of 104 Page ID
                                  #:7195




                                                                         169
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 53 of 104 Page ID
                                  #:7196




                                                                         170
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 54 of 104 Page ID
                                  #:7197




                                                                         171
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 55 of 104 Page ID
                                  #:7198




                                                                         172
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 56 of 104 Page ID
                                  #:7199




                                                                         173
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 57 of 104 Page ID
                                  #:7200




                                                                         174
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 58 of 104 Page ID
                                  #:7201




                                                                         175
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 59 of 104 Page ID
                                  #:7202




                                                                         176
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 60 of 104 Page ID
                                  #:7203




          (b)(4), (b)(6)




                                                                         177
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 61 of 104 Page ID
                                  #:7204




                                                                         178
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 62 of 104 Page ID
                                  #:7205




                                                                         179
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 63 of 104 Page ID
                                  #:7206




                (b) (4)




                                                                         180
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 64 of 104 Page ID
                                  #:7207




                (b) (4)




                                                                         181
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 65 of 104 Page ID
                                  #:7208




                (b) (4)




                                                                         182
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 66 of 104 Page ID
                                  #:7209




               (b) (4)




                                                                         183
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 67 of 104 Page ID
                                  #:7210




                (b) (4)




                                                                         184
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 68 of 104 Page ID
                                  #:7211




                                                                         185
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 69 of 104 Page ID
                                  #:7212




                                                                         186
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 70 of 104 Page ID
                                  #:7213




                                                                         187
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 71 of 104 Page ID
                                  #:7214




                                                                         188
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 72 of 104 Page ID
                                  #:7215




                (b) (4)




                                                                         189
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 73 of 104 Page ID
                                  #:7216




                                                                         190
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 74 of 104 Page ID
                                  #:7217




                                                                         191
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 75 of 104 Page ID
                                  #:7218




                                                                         192
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 76 of 104 Page ID
                                  #:7219




                                                                         193
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 77 of 104 Page ID
                                  #:7220




                (b) (4)




                                                                         194
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 78 of 104 Page ID
                                  #:7221




                                                                         195
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 79 of 104 Page ID
                                  #:7222




                                                                         196
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 80 of 104 Page ID
                                  #:7223




                                                                         197
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 81 of 104 Page ID
                                  #:7224




                                                                         198
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 82 of 104 Page ID
                                  #:7225




                                                                         199
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 83 of 104 Page ID
                                  #:7226




                                                                         200
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 84 of 104 Page ID
                                  #:7227




                                                                         201
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 85 of 104 Page ID
                                  #:7228




                                                                         202
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 86 of 104 Page ID
                                  #:7229




                                                                         203
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 87 of 104 Page ID
                                  #:7230




                (b) (4)



                                                                         204
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 88 of 104 Page ID
                                  #:7231




                                                                         205
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 89 of 104 Page ID
                                  #:7232




                                                                         206
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 90 of 104 Page ID
                                  #:7233




                                                                         207
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 91 of 104 Page ID
                                  #:7234




                                                                         208
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 92 of 104 Page ID
                                  #:7235




                                                                         209
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 93 of 104 Page ID
                                  #:7236




                                                                         210
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 94 of 104 Page ID
                                  #:7237




                               (b) (4)




                                                                         211
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 95 of 104 Page ID
                                  #:7238




                                                                         212
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 96 of 104 Page ID
                                  #:7239




                                                                         213
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 97 of 104 Page ID
                                  #:7240




                                                                         214
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 98 of 104 Page ID
                                  #:7241




                                                                         215
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 99 of 104 Page ID
                                  #:7242




                                                                         216
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 100 of 104 Page ID
                                   #:7243




                                                                         217
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 101 of 104 Page ID
                                   #:7244




                                                                         218
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 102 of 104 Page ID
                                   #:7245




                                                                         219
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 103 of 104 Page ID
                                   #:7246




                                                                         220
Case 2:85-cv-04544-DMG-AGR Document 239-3 Filed 08/12/16 Page 104 of 104 Page ID
                                   #:7247




                                                                         221
